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                    IN THE UNITED STATES DISTRICT COURT FOR THE- r
                             EASTERN DISTRICT OF VIRGINIA
                                                                             o' i JAN 22 2018                       ;




                                      Alexandria Division
                                                                              a.y-u,         ..... . ,    .   'n"   i
                                                                                 At ' a , Vi.            "A
UNITED STATES OF AMERICA
                                                            No. l:17-po-3307
               V.

                                                            Hon. Theresa C. Buchanan
DORTHY ANN DUFF
                                                            Trial Date: January 25, 2018

               Defendant.


                                            ORDER



        On this O/V day ofJanuary, 2018 came on for the Court's consideration the
Government's Motion to Use Electronic Courtroom Presentation Equipment, and, having

considered the same, the Court is of the opinion that the motion should be, and is hereby,

GRANTED.      So Ordered.
                                                            Theresa Carroll Buchanan
                                                            UpiteU States Magistrate Judge

                                                 HON. THERESA C. BUCHANAN
                                                 UNITED STATES MAGISTRATE JUDGE



Date:




Alexandria, Virginia
